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                                                                   STATE OF TEXAS
  PERSONNEL ACTION FORM                                                                                                                                Page 1 of 1

  PAF #                             7-TINS                         OAG ID                        Name

  00024514                          70052820910                                                  Hilton, Christopher D

  Action(s)                                                        Reason Code(s)                Effective Date of Action             Current Status

  Voluntary Separation                                             060                           10/17/2023     /   10/18/2023        Completed


                                                           FROM                                                                  TO

  Dept ID/Name                          D045000              /           General Litigation                                       /

  Location                                                  019

  Position #                                              00038899

  EEO/FLSA                                   A               /                     E                                              /

  Hours                                   40.00              /                 Reg                                                /

  Pay Group/Step                             B32             /                                                                    /

  Salary                               $16,187.50            /             $194,250.00                                            /

  Class (PCA)                                              10104

  Job Code                                                 3516A

                             Assistant Attorney General
  Job Title                                                  /            Division Chief                                          /
                                         VII

  Mg/Su Flag                                                 M

  Reports To                            00044514             /             James Lloyd                                            /

  Stipends                                                   /                                                                    /

  Hazardous Duty                                            No

  Comments                                                                                                               % Pay Increase           One-Time Merit Amt



                                                                                                                      Last Day Physically
                                                                                                                                                    Payable Hours
                                                                                                                            Worked

                                                                                                                          10/17/2023

  Posting #       Direct Transfer                    Employee Replaced

                                                                               /                        /



  Approval Step                      Assigned To                     Actual Approver                Status                             Date/Time

  Approval Request Submitted         Shelli Gustafson                Shelli Gustafson               Submitted                          10/17/2023 06:38:41 PM

  Exec Deputy approval               Grant Dorfman                   Grant Dorfman                  Approved                           10/17/2023 08:59:58 PM

  Approval Request Submitted         Shelli Gustafson                Shelli Gustafson               Submitted                          10/18/2023 03:03:24 PM

  HR Director Approval               ePAF HR Approvers               Lee Haney                      Approved                           10/18/2023 03:12:46 PM

  Budget Approval                    Karen Haywood                   Karen Haywood                  Approved                           10/18/2023 03:31:14 PM




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